                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-143
 v.                                                   )
                                                      )       COLLIER / LEE
 DUSTIN ROSE                                          )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) or fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included

 offense of the charge in Count One of the Superseding Indictment, that is of conspiracy to

 manufacture and distribute five (5) grams or more of methamphetamine (actual) or fifty (50) grams

 or more of a mixture and substance containing a detectable amount of methamphetamine, a Schedule

 II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B); (4) defer a

 decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

 remain in custody until sentencing in this matter (Court File No. 367). Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation (Court File No. 367) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:



Case 1:12-cr-00143-TRM-SKL           Document 372         Filed 02/27/14     Page 1 of 2      PageID
                                           #: 922
       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

             Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture and distribute five (5) grams or more of

             methamphetamine (actual) or fifty (50) grams or more of a mixture and substance

             containing a detectable amount of methamphetamine, a Schedule II controlled

             substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) is

             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute five (5) grams or

             more of methamphetamine (actual) or fifty (50) grams or more of a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B).

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, May 22, 2014 at 2:00 p.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            UNITED STATES DISTRICT JUDGE


                                               2


Case 1:12-cr-00143-TRM-SKL        Document 372        Filed 02/27/14      Page 2 of 2      PageID
                                        #: 923
